Case 2:11-cr-20129-RHC-EAS ECF No. 1090, PageID.7219 Filed 11/12/14 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                       Case No. 11-20129
                                                          Case No. 11-20006
 VINCENT WITORT,

            Defendant.
 _______________________________/

                         ORDER OVERRULING DEFENDANTS’
                      OBJECTION TO CAUTIONARY INSTRUCTION

        Before the court is Defendant Vincent Witort’s “Objection to Cautionary

 Instruction,” filed on the docket the evening of November 3, 2014, and objecting to a

 cautionary instruction that had been given to the jury that morning. The objection

 complains about the substance of the instruction and seeks “a slight modification of the

 curative instruction.” The objection is overruled, and any possible modification is moot

 for an instruction that is already delivered and unlikely to be repeated.

        As has been discussed extensively on the record, Defendant Witort’s attorney,

 Ms. Stout, asked an improper question during her cross-examination of Defendant

 Daniel Burby. Her question (1) referred to details of a conviction over ten years old and

 (2) assumed and stated certain detail which was unequivocally incorrect. Appearing to

 read from a document, she asked the witness if were not true that he had used a knife

 to “slit somebody’s throat” and, after a brief pause (reflected in the transcript with an em

 dash), continued, “or nose or something.” (Tr. IX, pg. 187.) She argues that the “door

 had been opened” by government direct examination implying that the only violence the
Case 2:11-cr-20129-RHC-EAS ECF No. 1090, PageID.7220 Filed 11/12/14 Page 2 of 3




 witness had experienced was within the DDMC organization. The court disagrees.

 There was no such testimony, either direct or implied. The door had not been opened to

 question the witness on the even the fact of a twenty-year-old conviction —let alone the

 purported, but misstated, details. The manner in which her question was posed, taking

 into account cadence and inflection, left a strong implication that there was in the

 document from which she was reading a report that the witness had slit someone’s

 throat with a knife. This was simply not true, and wholly unsupported.1 A curative

 instruction was necessary.

        The court solicited and received proposals from both Ms. Stout and the

 Government, and then formulated a court-proposed version incorporating elements of

 both. The court then conducted a brief conference with the attorneys and allowed them

 to provide further suggestions. The court then reconvened on the record, and heard

 more argument from counsel on the issue, before finally instructing the jury. This issue

 has been fully addressed. Counsel have been heard. The court took pains in its

 instruction to cure Ms. Stout’s error in a manner that did not in any manner question her

 motive or credibility as an attorney. The court pointed out that she was wrong to get

 into this area in the first place (she was), that she misstated the facts (she did), but that

 the court assumed it was inadvertant (it does).




        1
        The relevant presentence report indicates that the witness “slit or mutilated” a
 person’s “nose or lips,” but whatever happened appears to have occurred during a fight,
 possibly involving biting. There is no mention of a knife. There is no mention of
 anyone’s throat being slit. The court takes account of the current state of affairs in the
 Middle East that includes daily reports of terroristic acts, mass murders, beheadings,
 and the like. To use a phrase such as “slit someone’s throat,” albeit mistakenly, is
 inherently inflammatory, and more than ordinarily so today. Even if true, its admissibility
 would be doubtful under Rule 403.

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Case 2:11-cr-20129-RHC-EAS ECF No. 1090, PageID.7221 Filed 11/12/14 Page 3 of 3




            The court provided counsel with abundant opportunity to help fashion the

 curative instruction. One the record, she declined. The court is satisfied that the final

 version does not, as counsel now suggests, deny Defendants a fair trial. For these

 reasons, and for those further stated on the record,

            IT IS ORDERED that Defendants’ “Objection to Cautionary Instruction” (Dkt. #

 1081) is OVERRULED.



                                                                    S/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE

 Dated: November 12, 2014


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, November 12, 2014, by electronic and/or ordinary mail.

                                                                    S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522
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